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 7
 8                    IN THE UNITED STATES DISTRICT COURT
 9                   FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,    ) CR S-03-371 MCE
                                  )
12                  Plaintiff,    ) STIPULATION AND ORDER FOR
                                  ) CONTINUANCE OF HEARING RE: MOTION
13        v.                      ) FOR DISCOVERY
                                  )
14   DELESHIA GILBERT,            )
                                  )
15                  Defendant.    )
     _____________________________)
16
17        The United States of America, through its counsels of record,
18   McGregor W. Scott, United States Attorney for the Eastern District
19   of California, and William S. Wong, Assistant United States
20   Attorney, and defendant Deleshia Gilbert, through her attorney,
21   Kresta Daly, Esq., hereby stipulate and agree that the hearing
22   regarding motion for discovery scheduled for August 14, 2008, at
23   2:00 p.m. should be continued to August 28, 2008, at 2:00 p.m.
24        The parties seek additional time to resolve discovery issues
25   and respectfully request that the Court continue the hearing to
26   August 28, 2008, at 2:00 p.m.
27        The parties agree that time be excluded pursuant to 18 U.S.C. §
28   3161(h)(8)(B)(iv) - Local Code T-4 - reasonable time to prepare and

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 1   for continuity of counsel.       In addition, time should be excluded
 2   pursuant to Local Code E - pending motion.            The parties agree that
 3   time be excluded under these provisions for the reasons stated above
 4   from August 14, 2008, to and including August 28, 2008.
 5
 6                                                 Respectfully submitted,
 7                                                 McGREGOR W. SCOTT
                                                   United States Attorney
 8
 9   Dated: August 12 2008               By:       /s/ William S. Wong
                                                   WILLIAM S. WONG
10                                                 Assistant U.S. Attorney
11
12   Dated: August 12 2008               By:       /s/ Kresta Daly
                                                   KRESTA DALY, ESQ.
13                                                 Attorney for Defendant
14
15                                        ORDER
16         Good cause having been shown, it is hereby ordered that this
17   matter be set for August 28, 2008, at 2:00 p.m. and that time be
18   excluded pursuant to Local Code T-4 and Local Code E.
19   DATED: August 12, 2008.
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24   Ddad1/orders.criminal/gilbert0371.stipord

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